Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 1 of 20




                 Exhibit D
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 2 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 3 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 4 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 5 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 6 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 7 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 8 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 9 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 10 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 11 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 12 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 13 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 14 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 15 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 16 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 17 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 18 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 19 of 20
Case 1:17-cv-04179-DLC Document 115-4 Filed 04/20/18 Page 20 of 20
